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  8                       UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
  9
 10   TRACEY SINGLETON,                        )   Case No.: 5:19-cv-02372-MAA
                                               )
 11                Plaintiff,                  )   ORDER AWARDING EQUAL
                                               )   ACCESS TO JUSTICE ACT
 12         vs.                                )   ATTORNEY FEES AND EXPENSES
                                               )   PURSUANT TO 28 U.S.C. § 2412(d)
 13   KILOLO KIJAKAZI,                         )   AND COSTS PURSUANT TO 28
      Acting Commissioner of Social            )   U.S.C. § 1920
 14   Security,                                )
                                               )
 15                Defendant                   )
                                               )
 16
 17         Based upon the parties’ Stipulation for the Award and Payment of Equal
 18   Access to Justice Act Fees, Costs, and Expenses:
 19         IT IS ORDERED that fees and expenses in the amount of $9,000.00 as
 20   authorized by 28 U.S.C. § 2412, including the appellate proceedings in Ninth
 21   Circuit case no. 21-55205, and no costs authorized by 28 U.S.C. § 1920, be
 22   awarded subject to the terms of the Stipulation.
 23   DATE: 11/12/2021
                v
 24                             ___________________________________
                                THE HONORABLE MARIA A. AUDERO
 25                             UNITED STATES MAGISTRATE JUDGE
 26

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  1   Respectfully submitted,
  2   LAW OFFICES OF LAWRENCE D. ROHLFING
  3         /s/ Lawrence D. Rohlfing
      _________________________
  4   Lawrence D. Rohlfing
      Attorney for plaintiff Tracey Singleton
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